           Case 1:23-cv-00011-JCG Document 25    Filed 09/19/23   Page 1 of 15



        UNITED STATES COURT OF INTERNATIONAL TRADE
     BEFORE THE HONORABLE JENNIFER CHOE-GROVES, JUDGE

                                                )
 ZHEJIANG AMERISUN TECHNOLOGY                   )
 CO., LTD.,                                     )
                                                )
                      Plaintiff,                )
                                                )         Court No. 23-00011
                v.                              )
                                                )
 UNITED STATES,                                 )
                                                )
                      Defendant,                )
                                                )
                and                             )
                                                )
 BRIGGS & STRATTON, LLC,                        )
                                                )
                      Defendant-Intervenor.     )
                                                )


RESPONSE BRIEF OF DEFENDANT-INTERVENOR IN OPPOSITION TO
 PLAINTIFF’S MOTION FOR JUDGMENT ON THE AGENCY RECORD


                                              Stephen J. Orava
                                              Daniel L. Schneiderman
                                              KING & SPALDING, LLP
                                              1700 Pennsylvania Avenue, NW
                                              Suite 200
                                              Washington, DC 20006-4706
                                              (202) 626-2950
                                              Counsel to Defendant-Intervenor
                                              Briggs & Stratton, LLC

September 19, 2023




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          Case 1:23-cv-00011-JCG Document 25                             Filed 09/19/23          Page 2 of 15




                                          TABLE OF CONTENTS
STATEMENT PURSUANT TO RULE 56.2 ............................................................ 1
BACKGROUND ....................................................................................................... 1
ARGUMENT ............................................................................................................. 5
I.       STANDARD OF REVIEW ............................................................................. 5
II.      COMMERCE’S SCOPE RULING IS SUPPORTED BY
         SUBSTANTIAL EVIDENCE AND IS IN ACCORDANCE WITH
         LAW ................................................................................................................ 6
CONCLUSION ........................................................................................................ 11




                                                              ii
           Case 1:23-cv-00011-JCG Document 25                                   Filed 09/19/23            Page 3 of 15




                                               TABLE OF AUTHORITIES

                                                                                                                               Page(s)

Cases

United Steel & Fasteners, Inc. v. United States,
   947 F.3d 794 (Fed. Cir. 2020)....................................................................................................5

Agency Determinations

Certain Vertical Shaft Engines Between 99cc and Up to 225cc, and Parts Thereof
   From the People’s Republic of China: Antidumping and Countervailing Duty
   Orders, 86 Fed. Reg. 23675, 23677 (May 4, 2021) ...........................................................1, 3, 6

Certain Vertical Shaft Engines Between 99cc and Up To 225cc, and Parts
   Thereof, from the People’s Republic of China: Scope Ruling on Modified
   Vertical Shaft Engines (December 22, 2022) ............................................................1, 7, 10, 11

Statutes and Regulations

19 C.F.R. § 351.225(k) ..................................................................................................................10

19 C.F.R. § 351.225(k)(1)................................................................................................................6

19 C.F.R. § 351.225(k)(1)(i) ............................................................................................................6

19 C.F.R. § 351.225(k)(1)(i)(A) ....................................................................................................11

19 C.F.R. § 351.225(k)(1)(ii) ...........................................................................................................6

19 U.S.C. § 1516a(b)(1)(B)(i)..........................................................................................................5




                                                                    iii
       Case 1:23-cv-00011-JCG Document 25         Filed 09/19/23   Page 4 of 15




                   STATEMENT PURSUANT TO RULE 56.2
      Briggs & Stratton, LLC, petitioner in the underlying proceeding and

Defendant-Intervenor in this litigation, hereby responds in opposition to the

Motion for Judgment on the Agency Record and the Brief in Support thereof filed

by Plaintiff Zhejiang Amerisun Technology Co., Ltd. (“Zhejiang Amerisun”) on

July 7, 2023 (“Pl. Br.”). Plaintiff contests certain aspects the final scope ruling

issued by the U.S. Department of Commerce (“Commerce”) regarding Certain

Vertical Shaft Engines Between 99cc and Up To 225cc and Parts Thereof from the

People’s Republic of China. See Certain Vertical Shaft Engines Between 99cc and

Up To 225cc, and Parts Thereof, from the People’s Republic of China: Scope

Ruling on Modified Vertical Shaft Engines (December 22, 2022) (“Scope Ruling”)

(P.R. 25).

                                  BACKGROUND

      In March 2020, Briggs & Stratton, LLC filed antidumping and

countervailing duty petitions against imports from China of certain vertical shaft

engines with displacements ranging from 99 to 225 cubic centimeters, which

ultimately resulted in the imposition of antidumping and countervailing duty orders

in May 2021. Certain Vertical Shaft Engines Between 99cc and Up to 225cc, and

Parts Thereof From the People’s Republic of China: Antidumping and
      Case 1:23-cv-00011-JCG Document 25       Filed 09/19/23   Page 5 of 15




Countervailing Duty Orders, 86 Fed. Reg. 23675, 23677 (May 4, 2021) (the

“Orders”). The scope of the Orders provides as follows:

            The merchandise covered by these orders consists of
            spark-ignited, non-road, vertical shaft engines, whether
            finished or unfinished, whether assembled or
            unassembled, whether mounted or unmounted, primarily
            for walk-behind lawn mowers. Engines meeting this
            physical description may also be for other non-hand-held
            outdoor power equipment, including but not limited to,
            pressure washers. The subject engines are spark ignition,
            single-cylinder, air cooled, internal combustion engines
            with vertical power take off shafts with a minimum
            displacement of 99 cubic centimeters (cc) and a
            maximum displacement of up to, but not including,
            225cc. Typically, engines with displacements of this size
            generate gross power of between 1.95 kilowatts (kw) to
            4.75 kw.
            Engines covered by this scope normally must comply
            with and be certified under Environmental Protection
            Agency (EPA) air pollution controls title 40, chapter I,
            subchapter U, part 1054 of the Code of Federal
            Regulations standards for small non-road spark-ignition
            engines and equipment. Engines that otherwise meet the
            physical description of the scope but are not certified
            under 40 CFR part 1054 and are not certified under other
            parts of subchapter U of the EPA air pollution controls
            are not excluded from the scope of these proceedings.
            Engines that may be certified under both 40 CFR part
            1054 as well as other parts of subchapter U remain
            subject to the scope of these proceedings.
            Certain small vertical shaft engines, whether or not
            mounted on non-hand-held outdoor power equipment,
            including but not limited to walk-behind lawn mowers
            and pressure washers, are included in the scope.
            However, if a subject engine is imported mounted on
            such equipment, only the engine is covered by the scope.
            Subject merchandise includes certain small vertical shaft
            engines produced in the subject country whether mounted
            on outdoor power equipment in the subject country or in
            a third country. Subject engines are covered whether or
            not they are accompanied by other parts.
            For purposes of these orders, an unfinished engine covers
            at a minimum a sub-assembly comprised of, but not

                                        2
       Case 1:23-cv-00011-JCG Document 25      Filed 09/19/23   Page 6 of 15



            limited to, the following components: Crankcase,
            crankshaft, camshaft, piston(s), and connecting rod(s).
            Importation of these components together, whether
            assembled or unassembled, and whether or not
            accompanied by additional components such as a sump,
            carburetor spacer, cylinder head(s), valve train, or valve
            cover(s), constitutes an unfinished engine for purposes of
            these orders. The inclusion of other products such as
            spark plugs fitted into the cylinder head or electrical
            devices (e.g., ignition coils) for synchronizing with the
            engine to supply tension current does not remove the
            product from the scope. The inclusion of any other
            components not identified as comprising the unfinished
            engine subassembly in a third country does not remove
            the engine from the scope.
            Specifically excluded from the scope of these orders are
            “Commercial” or “Heavy Commercial” engines under 40
            CFR 1054.107 and 40 CFR 1054.135 that have (1) a
            displacement of 160cc or greater, (2) a cast iron cylinder
            liner, (3) an automatic compression release, and (4) and a
            muffler with at least three chambers and volume greater
            than 400cc.
            The engines subject to these orders are predominantly
            classified in the Harmonized Tariff Schedule of the
            United States (HTSUS) at subheading 8407.90.1010.
            The engine subassemblies that are subject to these orders
            enter under HTSUS 8409.91.9990. The mounted engines
            that are subject to these orders enter under HTSUS
            8433.11.0050, 8433.11.0060, and 8424.30.9000.
            Engines subject to these orders may also enter under
            HTSUS 8407.90.1020, 8407.90.9040, and 8407.90.9060.
            The HTSUS subheadings are provided for convenience
            and customs purposes only, and the written description of
            the orders is dispositive.
Orders, 86 Fed. Reg. at 23677-23678.

      Less than a year after the Orders were imposed, petitioner began observing

retailers sell lawn mowers exported from China by Plaintiff with a modified

“R210-S” engine incorporating a novel and unprecedented design. Request for

Scope Ruling (Aug. 8, 2022) (“Scope Application”) at 17-29 (P.R. 1). In


                                        3
       Case 1:23-cv-00011-JCG Document 25         Filed 09/19/23   Page 7 of 15




particular, instead of employing a vertical crankshaft (which transmits power

directly from the engine down to the blades), the R210-S has a horizontal

crankshaft plus a gearbox redirecting power (from a horizontal to a vertical

orientation) through an attached vertical drive shaft to the blades. Id. at 6-15.

Petitioner suspected that this unwieldy design, which makes no sense from an

engineering or commercial perspective, was developed solely as an attempt to

evade the Orders, and on August 8, 2022, petitioner filed a scope ruling

application requesting that Commerce find the engine to be covered by the Orders.

Id. at 27-29 (P.R. 1). Petitioner filed additional information in support of its

application on October 11, 2022. Petitioner’s Response Comments (Oct. 11, 2022)

(P.R. 21).

      On December 22, 2022, Commerce found that the modified R210-S engine

and similar designs, also referred to as “modified vertical shaft engines”

(“MVSEs”), fall within the scope of the Orders. Scope Ruling (P.R. 25). In

particular, Commerce found that, although MVSEs have a “horizontal crankshaft

(i.e., the shaft contained within the crankcase that is powered by the piston),” this

feature does not exclude them from the scope. Id. at 7. Commerce observed that

“the portion of the engine defined in the scope as having a ‘vertical’ orientation is

not the crankshaft but, rather, the power take off shaft.” Id. at 7-8. Commerce

found that “the power take off shaft is the mechanism through which power is


                                           4
       Case 1:23-cv-00011-JCG Document 25        Filed 09/19/23   Page 8 of 15




transmitted from the engine to an attached implement (such as a blade), and it can

be a secondary drive shaft (i.e., a shaft connected via a gearbox (or transmission) to

the crankshaft). Consequently, the downward shaft that connects a modified

vertical shaft engine’s right-angle gearbox to the blades of the lawn mower (and

ultimately transmits power from the engine to the blades) is a vertical power take

off shaft.” Id. at 8. Because MVSEs have a “vertical” power take off shaft,

Commerce concluded, they are covered by the scope of the Orders. Id.

                                   ARGUMENT
I.    STANDARD OF REVIEW
      The court will uphold an agency determination that is supported by

substantial evidence and otherwise in accordance with law. 19 U.S.C. §

1516a(b)(1)(B)(i). In scope cases, the Court of Appeals has “consistently

emphasized that Commerce is entitled to substantial deference when interpreting

its own antidumping duty orders because the meaning and scope of such orders is

within Commerce’s particular expertise and special competence.” United Steel &

Fasteners, Inc. v. United States, 947 F.3d 794, 798 (Fed. Cir. 2020), quoting King

Supply Co., LLC v. United States, 674 F.3d 1343, 1348 (Fed. Cir. 2012). “As a

result, parties challenging Commerce’s scope determinations under substantial

evidence review confront a high barrier to reversal.” Id.




                                          5
       Case 1:23-cv-00011-JCG Document 25         Filed 09/19/23   Page 9 of 15



II.   COMMERCE’S SCOPE RULING IS SUPPORTED BY
      SUBSTANTIAL EVIDENCE AND IS IN ACCORDANCE WITH LAW
      Plaintiff disputes Commerce’s finding that MVSEs have a vertical power

take off shaft. According to Plaintiff, the scope term “power take off shaft” refers

solely to the crankshaft, and Commerce erred in interpreting that term to include

secondary drive shafts. Pl. Br. at 6. Plaintiff observes that the scope language

itself does not “include a secondary drive shaft within the definition of a power

take off shaft.” Id. at 7. But this argument lacks merit. In fact, the scope does not

define the term “power take off shaft” at all, and Plaintiff makes no case that the

term, on its face, unambiguously refers only to crankshafts. The regulations

provide that Commerce will examine certain primary and secondary interpretive

sources when construing scope language. 19 C.F.R. § 351.225(k)(1). That is

exactly what it did here. In construing the term “power take off shaft,” Commerce

appropriately relied upon primary interpretive sources, i.e., the petition, see 19

C.F.R. § 351.225(k)(1)(i), as well as secondary interpretive sources, i.e.,

information regarding industry usage and other relevant record evidence, see 19

C.F.R. § 351.225(k)(1)(ii). Scope Ruling at 7-8 (P.R. 25).

      Although the scope of the Orders is not restricted to engines designed for

particular end uses, the covered engines are “primarily for walk-behind lawn

mowers.” Orders, 86 Fed. Reg. at 23677. See also Petition (March 18, 2020) at




                                           6
       Case 1:23-cv-00011-JCG Document 25             Filed 09/19/23    Page 10 of 15




pages 5 and 13 (P.R. 6).1 Commerce observed that “the Petition states that

horizontal shaft engines are not suitable for walk-behind lawn mowers because the

mower’s blades must be connected to a vertical shaft to cut the grass beneath the

mower.” Scope Ruling at 8 (P.R. 25), citing the Petition at 14 (P.R. 6). According

to Commerce, “this supports our position that the orientation of the shaft that

connects and transmits power from the engine to the blades is what determines

whether an engine is ‘vertical’ or ‘horizontal’ in the context of the scope.” Id. In

other words, the “vertical shaft” referenced in the petition is that which connects to

the mower’s blades. This could be the crankshaft, but it does not necessarily have

to be. The Petition, therefore, supports Commerce’s interpretation that a vertical

drive shaft connecting to the mower blades, as in the MVSE at issue here, is a

“vertical power take off shaft” for purposes of the scope. Id.

       Plaintiff does not take issue with Commerce’s reliance upon the Petition as a

primary interpretive tool. Instead, Plaintiff takes issue with Commerce’s citation

to the Scope Application, which includes academic and encyclopedia articles

describing crankshafts, drive shafts, and power take off (“PTO”) designs. See

Scope Application at Attachments 16-17 (P.R. 10). Plaintiff makes no argument

that such articles are inappropriate secondary interpretive tools. Pl. Br. at 6.


       1
              The relevant Petition materials were included at Attachment 7 of the Scope
Application. (P.R. 5-6).

                                               7
      Case 1:23-cv-00011-JCG Document 25         Filed 09/19/23   Page 11 of 15




Rather, Plaintiff contends Commerce failed to explain how those articles support

its finding at page 8 of the Scope Ruling that a “power take off shaft is the

mechanism through which power is transmitted from the engine to an attached

implement (such as a blade), and it can be a secondary drive shaft (i.e., a shaft

connected via a gearbox (or transmission) to the crankshaft).” Id. Plaintiff argues

that the articles “are not specific to engines used for lawnmowers,” and they do not

“support the proposition that crankshafts and power take off shafts are exclusive to

one another, such that a crankshaft could not also be the power take off shaft for

the engine.” Id.

      Plaintiff misunderstands the record. The articles at issue were provided to

demonstrate the common industry understanding of the relevant engine

components. The fact that the articles are not specific to lawnmower engines is

irrelevant, because terms such as “crankshaft” have a common meaning in any

engine design. See Scope Application at Attachment 16a (P.R. 10). The common

understanding of “power take-off” is simply a method of taking power from one

source and transmitting it to an attached implement. See id. at Attachment 16b

(P.R. 10). The referenced articles do not claim that a crankshaft cannot act as the

power take off shaft, and Commerce made no such finding. Indeed, in every

lawnmower engine known to petitioner (apart from MVSEs), there is only one

shaft: the crankshaft is the vertical power take off shaft. The referenced articles do


                                          8
      Case 1:23-cv-00011-JCG Document 25         Filed 09/19/23   Page 12 of 15




show, however, that a power take off shaft can be a secondary drive shaft, such as

that employed in MVSEs. See id. at Attachments 16-17 (P.R. 10). In this respect,

the articles support Commerce’s determination that the MVSE’s vertical drive

shaft can be considered a “power take off” shaft for purposes of the scope.

      Plaintiff argues that, in order for the MVSE’s power to be transmitted to the

blades, it must originate from the horizontal crankshaft, and so that should be

considered a PTO shaft. Pl. Br. at 7. Obviously, given the MVSE’s design, power

has to be transmitted through both the horizontal crankshaft and the vertical drive

shaft. The point remains, however, that power must at some point be transmitted

in the vertical direction in order to reach the mower blades below the engine.

Whether both the crankshaft and the drive shaft are considered PTO shafts, or

whether only the secondary drive shaft should be considered the PTO shaft is

irrelevant. Either way, the design involves a vertical shaft transmitting power to

the blades, and thus it includes a “vertical power take off shaft” bringing the engine

in-scope. The fact that the engine also includes a horizontal shaft is irrelevant,

because there is no specific scope exclusion for engines having horizontal

crankshafts.

      Alternatively, Plaintiff contends that the MVSE actually has only one shaft,

i.e., the crankshaft, and that the gearbox and attached vertical drive shaft should be




                                           9
      Case 1:23-cv-00011-JCG Document 25         Filed 09/19/23   Page 13 of 15




considered parts of the lawnmower rather than as parts of the engine itself. Pl. Br.

at 7-8. Commerce, however, found otherwise. As Commerce explained:

             We disagree with Zhejiang Amerisun that the right-angle
             gearbox and vertical power take off shaft should be
             considered parts of the lawn mower, rather than parts of
             the engine. Photographic evidence on the record
             illustrates how the right-angle gearbox and vertical power
             take off shaft are integrated into the modified vertical
             shaft engine to make a single engine unit. Furthermore,
             we find that the scope merely enumerates the minimum
             components that must be included for a machine to be
             considered an engine, rather than providing an exhaustive
             list. Thus, there is nothing in the language of the scope
             that precludes a gearbox connected to a shaft from being
             considered an integrated part of an engine.
Scope Ruling at 8 (P.R. 25). See also Scope Application at 7-12 (P.R. 1)

(containing the referenced photographic evidence). In its brief, Plaintiff offers

only a conclusory assertion that the gearbox and drive shaft are not part of the

engine. Pl. Br. at 8. Plaintiff points to no record evidence contradicting

Commerce’s finding, and it does not explain how Commerce’s finding is

unsupported by substantial evidence. Id. Accordingly, Plaintiff has not

demonstrated entitlement to a remand under the applicable standard of review.

      Finally, Plaintiff argues that Commerce improperly considered as part of its

analysis the intended end-use of MVSEs as lawnmower engines. Pl. Br. at 9-10.

According to Plaintiff, the regulations allow Commerce to consider end-use as part

of a (k)(2) analysis, but “only when the (k)(1) sources fail to clarify the scope of

the order.” Pl. Br. at 9-10. See also 19 C.F.R. § 351.225(k). As explained above,

however, Commerce did not examine end-use as part of a (k)(2) analysis; rather, it
                                          10
      Case 1:23-cv-00011-JCG Document 25         Filed 09/19/23   Page 14 of 15




looked to the petition as a primary interpretive tool under a (k)(1) analysis. See

Scope Ruling at 8-9 (P.R. 25). In order to understand the meaning of the terms

“vertical shaft” and “vertical power take off shafts” as they appear in the scope, the

discussion in the petition regarding the need to transmit power in a downward

direction from the lawnmower engine to the blades is relevant. See id. The

regulations specifically permit Commerce to consider the petition for precisely this

purpose. 19 C.F.R. § 351.225(k)(1)(i)(A). Contrary to Plaintiff’s assertion,

Commerce did not find that engines must be considered “vertical shaft” engines

simply by virtue of their intended use in lawnmowers.

                                  CONCLUSION

      For the reasons set forth above, the Court should affirm the Scope Ruling.


                                       Respectfully submitted,

                                       /s/ Daniel L. Schneiderman
                                       Stephen Orava
                                       Daniel L. Schneiderman
                                       KING & SPALDING LLP
                                       1700 Pennsylvania Avenue, NW, Suite 200
                                       Washington, DC 20006
                                       (202) 737-0500
                                       Counsel for Defendant-Intervenor
September 19, 2023




                                          11
      Case 1:23-cv-00011-JCG Document 25        Filed 09/19/23   Page 15 of 15




                    CERTIFICATE OF COMPLIANCE
                   WITH WORD COUNT LIMITATIONS
      Pursuant to paragraph 2(B)(2) of the U.S. Court of International Trade’s

Standard Chambers Procedures, the undersigned certifies that this brief complies

with applicable word count limitations. Exclusive of the exempted portions, as

provided in paragraph 2(B)(1), this brief includes 2,691 words. In preparing this

certificate, the undersigned has relied upon the word count feature of the word-

processing system used to prepare the submission.




                                      /s/ Daniel L. Schneiderman
                                      Daniel L. Schneiderman
                                      KING & SPALDING LLP
                                      1700 Pennsylvania Avenue, NW,
                                      Washington, DC 20006
                                      (202) 737-0500
                                      Counsel for Defendant-Intervenor
September 19, 2023
